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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION
               JOHN THIBODEAUX, et al.                  NO. 6:18−CV−00501−RRS−CBW (LEAD)

                         VERSUS                         JUDGE ROBERT R SUMMERHAYS

              J M DRILLING L L C , et al.               MAGISTRATE JUDGE CAROL B
                                                        WHITEHURST



                                                     NOTICE

      In accordance with the order of consolidation, all future pleadings for all cases stated in the order should
   bear the lead case number, caption, judge and magistrate judge assignments which are shown above.
   Pursuant to LR10.2, the lead caption shall be followed by a listing of the names and docket numbers of
   only those cases to which the filing applies. An example caption might read:



                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF LOUISIANA
                                         SHREVEPORT DIVISION

             PAUL PLAINTIFF, ET AL                                  NO. 5:91cv1234 (LEAD)
                                                                    NO. 5:91cv5678 (MEMBER)

                    VERSUS                                          JUDGE STAGG

             DON DEFENDANT, ET AL                                  MAG. JUDGE HORNSBY



       From the point of consolidation forward, electronic filings should be submitted in the lead case.

       In the event that you, in the future, contemplate an appeal in this matter, we wish to direct your attention
   to FRCP 54(b) and also FRAP 4(a)(4) and the Fifth Circuit's holding in Harcon Barge Co., Inc. vs. D & G
   Boat Rentals, Inc. 746 F2d 278 (5th Cir. 1984).
       For questions regarding this document or transmission, please call our CM/ECF help desk at
   1−866−323−1101.
      THUS DONE November 26, 2018.


                                                                TONY R. MOORE
                                                                CLERK OF COURT
